Case 6:22-cv-02263-ACC-DAB       Document 11    Filed 12/28/22   Page 1 of 1 PageID 49




                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

                           CASE NO. 6:22-cv-2263-ACC-DAB

 DANIEL LUGO,

              Plaintiff,
 v.

 FANTASYWORLD MANAGEMENT
 SERVICES, INC.,

           Defendant.
 _______________________________/

         NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff, by and through his undersigned counsel, hereby dismisses this

 action with prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i)

 with each side to bear his or its own fees and costs except as otherwise agreed.

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